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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

MICHAEL HYATT                                         )   CIVIL ACTION NO.: 2:22-cv-04004
                                                      )
VERSUS                                                )   JUDGE ELDON E. FALLON
                                                      )
ABR LOGISTICS, LLC., THOMAS JOHNSON,                  )   MAGISTRATE KAREN W. ROBY
AND QBE UK LIMITED                                    )

ALABAMA SHIPYARD, LLC’S MOTION FOR SUMMARY JUDGMENT TO DISMISS
          THIRD PARTY COMPLAINT OF ABR LOGISTICS, LLC

         Third-Party Defendant, Alabama Shipyard, LLC (“ASY”) moves for Summary Judgment

to Dismiss the Third-Party Claim of ABR Logistics, LLC., Thomas Johnson, and QBE UK Limited

trading as “British Marine” (collectively, “ABR”) because as an employer under the LHWCA, 33

U.S.C. 901 et seq., it is immune from tort and contractual indemnity. Further, under the Master

Time Charter Agreement in effect, ASY was not obligated to insure ABR. This motion is pursuant

to F.R.C.P. 56 and supported by its Memorandum of Law and Statement of Uncontested Materials

Facts.


                                           Respectfully submitted,


                                           /s/ Grady S. Hurley
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                                           Shipyard LLC.



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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on October 24, 2023, a copy of the foregoing has been forwarded to

all parties and counsel of record via the Court’s E-filing system, U.S. Mail, email, and/or facsimile.


                                               /s/ Grady S. Hurley
                                               GRADY S. HURLEY




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